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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JILL KATZ and MICHAEL KATZ, As             :         CIVIL ACTION
Administrators of the Estate of            :
Sarah Katz, Deceased`                      :
                                           :
      v.                                   :
                                           :
PANERA BREAD                               :
COMPANY and PANERA, LLC                    :         NO. 23-4135

                                       ORDER

      NOW, this 7th day of October, 2024, the issues between the parties having been

resolved, it is ORDERED that this action is DISMISSED WITH PREJUDICE, without

costs, pursuant to the agreement of counsel and Local Rule 41.1(b).
